IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
IN RE: § CASE NO: 17-50011G
Sammy Almendarez §
Dawn Zavala Almendarez §
DEBTOR(S) § CHAPTER 13

DEBTORS’ MOTION TO MODIFY CHAPTER 13 PLAN
AND SECOND REQUEST FOR ATTORNEY'S FEES

AN ORDER WILL BE ENTERED GRANTING THE RELIEF
REQUESTED HEREIN WITHOUT FURTHER HEARING UNLESS A
WRITTEN OBJECTION AND REQUEST FOR HEARING IS FILED
WITH THE CLERK WITHIN TWENTY-ONE (21) DAYS AFTER THE
DATE OF ISSUANCE OF THIS NOTICE. ANY SUCH OBJECTlON
MUST ALSO BE SERVED UPON THE MOVING PARTY AND UPON
ALL OTHER PERSONS INDICATED ON THE CERTIFICATE OF
SERVICE ATTACHED TO THIS PLEADING.

TO THE HONORABLE JUDGE Craig A. Gargotta:
Sammy Almendarez and Dawn Zavala Almendarez, ("Debtors") move to modify their

Chapter 13 Plan under ll U.S.C. § 1329 and Bankruptcy Rule 3015.

l. Jurisdiction
Jurisdiction is proper under 28 U.S.C. § 1334. This is a "core-proceeding" pursuant to

28 U.S.C. § 157 (b)(2). Further, this is a "contested matter" governed by Bankruptcy Rule
9014.

2. Background
The Debtors filed a Chapter 13 bankruptcy petition on January 2, 2017. The court

confirmed the Chapter 13 Plan on February 28, 2017.

3. Grounds for Modification
The Debtors experienced a substantial and unexpected change in circumstances since the

entry of the order continuing the plan. Debtors became delinquent With their mortgage
payments because they have been struggling with their budget since filing and eventually missed
two mortgage payments. Debtors now understand how to budget and feel that they can continue

in this case. As a result, Debtors are required to add post-petition mortgage arrears of $2,778.24

into the chapter 13 plan per an Agreed Order Modifying Stay entered into between Debtor and

Ditech Financial.

4. Terms to be Modified

Debtors request that the Chapter 13 Plan be modified to allow $2,778.24 in post-petition

mortgage arrears be added into the plan. The modified plan payment will begin June 2018.

The following reflect the terms of the current plan and of the proposed modified plan:

 

 

 

 

Chapter 13 Plan Terms Current Plan Proposed Plan
Plan Payment $1,175.00 Sl,275.00
Term (f`rom date of Confirmation) 59 months 59 months
Plan % (approx. dividend to unsecured creditors) 22% 24%

ACP (Applicable Commitment Period) 3 years

 

 

 

 

The following identifies the specific monthly payments payable by the Trustee through

the plan to the secured and priority creditors:

 

 

 

 

 

 

 

 

Creditor Current Plan Proposed Plan
DITECH Financial LLC (pre petition) Pro rata Pro rata
DITECH Financial LLC (post petition) Pro rata Pro rata
NPRTO Texas LLC $75.00 75.00
American Credit Acceptance $395.00 395.00
Amercian Credit Acceptance $250.00 $250.00
J. Todd Malaise - Base Attorney's Fees Paid Paid
J. Todd Malaise - Admin Priority (this motion) *see below

 

 

 

 

 

These modifications reflect the only terms sought to be modified by this motion. All
existing terms and provisions of the current Chapter 13 Plan not modified above remain in effect.

Further, the dividend payable to unsecured creditors is greater than the value of
non-exempt property and greater than the amount that the unsecured creditors would receive if
this case was converted to a Chapter 7.

5. Request for Attorney' s Fees
Counsel for Debtor incurred additional attorney fees and costs related to this matter and

asks that he be awarded $874.46 ($843.00 attorney fees and $31.46 expenses) as reasonable and
necessary services and that said amount be paid as an administrative claim by the Trustee

through the Chapter 13 Plan payable in full upon entry of this order or as funds become

available. Payment of this claim may delay payment of the scheduled monthly payment on
secured and priority claims. A description of these services is attached as "Exhibit A". These
services were unanticipated and were not included in the base, "no look" fee award. A history

of the attorney fees awarded in this case is attached hereto as "Exhibit B".

PRAYER
Wherefore, premises considered, Debtor prays that this Court approve this Motion to

Modify Chapter 13 Plan and Second Request for Attomey's Fees.

Respectfully submitted,
MALAISE LAW FIRM
909 NE Loop 410, Suite 300
San Antonio, Texas 78209
Telephone:

    
  
    

 

`se, SBN 00796984
erner, SBN 00797651

. Cennamo, SBN 04045600
r a K. Howard, SBN 24049025
ATTORNEYS FOR DEBTOR

CERTIFICATE OF SERVICE

The undersigned hereby certifies that, on May Z;§ 2018, service of a copy of the
attached has been accomplished by CM/ECF to Mary K. Viegelahn, Chapter 13 Trustee, and
by first class mail, postage paid, or hand delivered to the p interest listed below and to all
parties listed on the attached mailing matrix.

   
 

 

 

Te sa K. Howard

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Label Matrix for local noticing
0542-5

Case 17-50011-cag

Hestern District of Texas

San Antonio

Mon May 28 17:29:31 CDT 2018

Ad Astra Recovery
7330 11 33rd St Ste 118
lichita, KS 67205-9370

Attomey General of the US
Department of Justice

950 Pennsylvania Ave. 1111
Washington, DC 20530-0009

Broadvay F:l.nance

Broadvay Finance

1115 511 Military Drive, Suite 102
San Antonio, TX 78221-1698

Cap Fin Co
216 Broadvay
San Antonio, TX 78205-1924

credit magenenc, LP

The Offices of Credit Hanagenent, LP
PO Box 118288

Carrolton, TX 75011-8288

Ditech Financial LLC fha Green Tree Servicin
P.0. Box 6154
Rapid City, South Dakota 57709-6154

Inteznal Revenue Service
P.0. Box 7346
Philadelphia, PA 19101-7346

Mid\lest Racovery Syste
90 Box 899
Florissant, 141 63032-0899

Rent-A-Ceoter
803 Castroville Rd.
San Antonio, TX 78237-3148

United States Trustee (5146513)
U.S. Trustoe’s Office

615 E. Houston, Suite 533
P.O. Box 1539

San Antonio, TX 78295-1539

Afni
PO Box 3427
Bloomington, IL 61702-3427

Bexat County

c/o Bradley S. Balder:aua
711 lavarro, Suite _300
San Antonio, '1'X 78205-1749

Business & Professi.onal Services
Attn: Bankruptcy

621 11. Almo St.

San Antonio, TX 78215-1836

Cent:al Finance
4400 Fredericksburg Ste102
San Antonio, 'l'X 78201-1969

Ditech

Attn: Bankruptcy

P0 Box 6172

Rapid City, SD 57709-6172

Ditech Financial LLC,

c/o BDFTE LLP

4004 Belt Lioe Rd, Ste 100
Addison, rx 75001-4320

Jh Portfolio Debt Equities LLc
5757 Phantcm Dr Ste 225
Hazelvood, m 63042-2429

NPRTO Texas, LLC
256 11est Data Drive
Draper, UT 84020-2315

Robertson Anschutz vetters
10333 Richnond Ave, ste 550
Houston, TX 77042-4115

U.S. BANKRUPTCY COURT
615 E. HOUSTON STR!ET, m 597
SAN AMUIO, TX 78205-2055

American Credit Acceptance
961 E llain St
Spartanburg, SC 29302-2185

Bexar County

c/o Don Stecker

Linebarger Goggan Blair & Salpson
711 Navarro, Ste. 300

San Antonio, TX 78205-1'149

C®ILIS & STAIIARSKI, P.C.

ATTNZ BANKRUPTC! DBPARIIINT

400 N. SAN HUUSTON PARKHA! EAST 090
HOUSTON, TX 77060-3548

Credit Acceptance

25505 West 12 Mile Rd
Suite 3000

Southfield, 111 48034-8331

Ditech Financial LLC
P.D. Box 6154
Grand Rapids, South Dakota 57709-6154

m/Enhanced Recove:y Corp
8014 Bayberry Rd
Ja¢ksonville, FL 32256-7412

Mega Furnituze
2301 811 Military Dr
San Antonio, TX 78224-1406

(p)P°R'l'F°LIO RBCOVERY ASSOCIATES LLC
P0 BOX 41067
NORFOLK VA 23541-1067

SANTANDER CUSUMER USA, INC.
P.0. B°X 560284
DALLAS, TX 75356-0284

San Antonio Loans
4535 !redricksburg Rd St
San Antonio, TX 78201-6515

US Attomey's office
601 1111 Loop 410, Ste 600
San Antonio, TX 78216-5597

Da\m Zavala Alnendarez
5119 Duke Field
San Antonio, TX 78227-4725

J. Todi Halaise04
Malaise Lav rim
909 111 Loop 410, Suite 300
San Antonio, TX 78209-1315

Santander Consumer USA
PO Box 961245
l't Worth, TX 76161-0214

United States Trustee - SA12
US Trustee’s Office

615 E Houston, Suite 533

PO Box 1539

San Antonio, TX 78295-1539

J. Todd Malaise
909 113 Loop 410, Suite 300
San Antonio, '|'.'X 78209-1315

Hary K Viegelahn
Chapter 13 Trustee

10500 Heritege Blvd Suite 201

San Antonio, TX 78216-3631

Sun Loan Cospany
803 Castroville Rd Ste 3
San Antonio, TX 78237-3153

VA Regional office

0ffice of District Counsel
2515 Mur\vorth Dr

Houston, TX 77054-1603

J. lTodd Malaise02
Malaise La\r l'irm
909 112 Loop 410, Suite 300
San Antonio, TX 78209-1315

Samy Alnendarer
5119 Duke Field
San Antonio, TX 78227-4725

The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notioe of Address filed purth to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Portfolio Recovery
PO box 41061
Norfolk, Vl 23541

End of Label Matrix

lailable recipients 41
Bypassed recipients 0
Total 41

Billing Statement EXhlblt A

 
   

Totai Bmed: v l ss74.46

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02/05/ 18 EBE $95 1.2 in office conference with Debtors regarding MTLS. Receive some docs. $114.00
02/23/ 18 MAM $95 0.3 Receive & review TMTD for no annual. Letter to Debtors. $28.50
02/27/18 TLG $95 0.4 Call to Debtor for in office appointment regarding MTLS and TMTD $38.00
03/06/ 18 EBE $95 0.5 In office conference with Joint Debtor regarding TMTD for no annual. Need add'l info $47.50
03/09/ 18 EBE $95 0.5 Receive docs from Debtors. Prepare response to TMTD. $47.50
03/09/ 18 JTM $295 0.2 Approve and sign response to TMTD for no annual $59.00
03/09/ 18 EBE $95 0.2 File response for TMTD with court. $19.00
04/09/18 EBE $95 0.8 Review pay stubs and update Debtors income and expenses Draft amended I and J $76.00
04/19/18 EBE $95 0.2 Phone call to Joint Debtor regarding TMTD. $l9.00
04/23/ 18 EBE $95 0.5 Email exchange with IRS regarding Debtors' 2015 and 2017 liabilities $47.50
04/24/ 18 JTM $295 0.2 Review pay stubs and approve amended 1 and J $59.00
04/24/ 18 EBE $95 0.3 File amended l and J with court. Upload pay stubs to the portal. Email to trustee office $28.50
05/07/ 18 EBE $95 0.2 Receive & review withdrawal of TMTD. Call to Debtors. $l9.00
05/09/ 18 EBE $95 0.7 Drah motion to modify $66.50
05/10/18 EBE $95 0.4 Drah timesheet for services $38.00
05/18/18 EBE $95 0.2 Prep tile for attorney review $19.00
05/21/18 EBE $95 0.1 Email exchange with trustee's office regarding modificaiton $9.50
05/31/18 JTM $295 0.3 Review, approve and sign modification $88.50
05/31/ 18 EBE $95 0.2 File modification with court. $19.00

TOTAL FOR FEES $843.00

 

 

JTM Todd Malaise (Attomey) @ $295.00 per hour

SGC Steven G. Cennamo (Associate Attomey) @ $295.00 per hour
DCW David C. Wemer (Associate Attomey) @ $265.00 per hour
TKH Teresa K., Howard (Associate Attomey) @ $265.00 per hour
MAM Margaret Munoz (I_egal Assistant) @ $95.00 per hour

ORI Oriana Towels (Legal Assistant) @ $95.00 per hour

GMP Gina M. Perez (begal Assistant) @ $95.00 per hour

TLG Tiffany L. Gomez (Legal Assistant) @ $95.00 per hour

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EXPENSES Cost Pages

Copies 0.21 76 Response to TMTD & Motion to Modify $15,96

Postage 0.5 31 Response to TMTD & Motion to Modify $15_50
TOTAL EXPENSES 331-46

Please remit payment to: Malaise Law Firm

909 N.E. Loop 410, Suite 300
San Antonio, TX 78209

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF TEXAS

 

SAN ANTONIO DIVISION
IN RE: § CASE NO. l7-50011G
Sammy Almendarez §
Dawn Zavala Almendarez §
DEBTOR(S) § CHAPTER 13
ATTORNEY'S FEE EXHIBIT
DATE FEES FEES DOCUMENT
FILED AWARDED PENDING FILED
3/27/2018 $589.42 $0.00 Application for Attorney Fees/AO MTLS
SUMMARY
Fees Awarded at Confirmation: $3,600.00
Total post confirmation fees awarded: $589.42
Total post continuation fees pending: $0.00

"EXHIBIT B"

